          Case 2:17-mj-00442-JPD             Document 12       Filed 10/27/17      Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     UNITED STATES OF AMERICA,                              NO. MJ17-442
 9
                                     Plaintiff,
10

11             v.                                           DETENTION ORDER

12   ABDIRASHID HAKAR HARET,

13                                   Defendant.
14

15   Offense charged:

16             Count 2:      Unlawful Possession of a Firearm

17   Date of Detention Hearing: October 27, 2017.

18             The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21             1.     Defendant’s has a prior history with firearms.

22             2.     The evidence against the defendant, although the least significant factor, is very

23   strong.

24             3.     This alleged incident occurred within a relatively short time after his previous

25   similar conviction.

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
          Case 2:17-mj-00442-JPD          Document 12        Filed 10/27/17      Page 2 of 2




 1
            4.     There are no conditions or combination of conditions other than detention that
 2
     will reasonably ensure the safety of the community.
 3
            IT IS THEREFORE ORDERED:
 4
            (1)    Defendant shall be detained and shall be committed to the custody of the
 5
                   Attorney General for confinement in a correction facility separate, to the extent
 6
                   practicable, from persons awaiting or serving sentences or being held in custody
 7
                   pending appeal;
 8
            (2)    Defendant shall be afforded reasonable opportunity for private consultation with
 9
                   counsel;
10
            (3)    On order of a court of the United States or on request of an attorney for the
11
                   government, the person in charge of the corrections facility in which defendant
12
                   is confined shall deliver the defendant to a United States Marshal for the
13
                   purpose of an appearance in connection with a court proceeding; and
14
            (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
15
                   counsel for the defendant, to the United States Marshal, and to the United States
16
                   Pretrial Services Officer.
17
            DATED this 27th day of October, 2017.
18

19                                               AJAMES P. DONOHUE
20                                                Chief United States Magistrate Judge
21

22

23

24

25

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
